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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,                                    Case No. 1:09-cr-29

v.                                                           HON. JANET T. NEFF

EMMANULE DAVON DAVIS,

            Defendant.
____________________________________/


                            MEMORANDUM OPINION AND ORDER

       Defendant Emmanule Davon Davis has filed a motion for modification or reduction of

sentence (Dkt 202) pursuant to 18 U.S.C. §3582(c)(2) on the basis of Amendment 782 of the United

States Sentencing Guidelines, made retroactive by the Sentencing Commission.

       Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant who

has been sentenced based on a sentencing range that has subsequently been lowered by the

Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 782 of the United States Sentencing

Guidelines reduced by two levels the offense levels assigned to the quantities that trigger the

statutory mandatory minimum penalties in U.S.S.G. §§ 2D1.1 and 2D1.11. These modifications

were made retroactive effective November 1, 2014. U.S.S.G. § 1B1.10.

       However, the defendant appears to be ineligible for consideration because the mandatory

minimum sentence of imprisonment, which is the controlling guideline, was imposed at sentencing.

Counsel for defendant has filed a response (Dkt 213) to the report of eligibility and preserves this

issue for future consideration should the law change.
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       Therefore, IT IS HEREBY ORDERED that Defendant's motion for modification of sentence

(Dkt 202) pursuant to 18 U.S.C. § 3582(c)(2) is DENIED.




DATED: April 10, 2015                             /s/ Janet T. Neff
                                                 JANET T. NEFF
                                                 United States District Judge




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